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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
                         Plaintiff,  )
                                     )                   CRIMINAL ACTION
v.                                   )
                                     )                   No. 10-20076-04-KHV
MICHAEL D. PORTER,                   )
                         Defendant. )
_____________________________________)

                                MEMORANDUM AND ORDER

       On May 24, 2011, the Court sentenced defendant to 120 months in prison. This matter is

before the Court on defendant’s Motion To Reduce Sentence (Doc. #537) filed August 10, 2012.

Defendant asks for a reduced sentence in light of the recent decision in Dorsey v. United States, 132

S. Ct. 2321 (June 21, 2012). Defendant is not entitled to relief under Dorsey because the Fair

Sentencing Act of 2010 had no effect on defendant’s total offense level. The Court sentenced

defendant as a career offender under U.S.S.G. § 4B1.1. Accordingly, his precise offense level for

the cocaine base offense did not impact his sentence.1

       IT IS THEREFORE ORDERED that defendant’s Motion To Reduce Sentence (Doc. #537)

filed August 10, 2012 be and hereby is OVERRULED.

       Dated this 28th day of August, 2012 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




       1
               In any event, the presentence report noted the reduced offense level for the cocaine
base offense under the Fair Sentencing Act of 2010 by applying the November 1, 2010 version of
the Sentencing Guidelines along with the emergency amendments to U.S.S.G. § 2D1.1. See PSIR
(Doc. #321) filed May 16, 2011, ¶¶ 29-30.
